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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                  Fort Lauderdale Division

   D.N., by her next friends, JESSICA N.,
   mother, and GARY N., father,

                        Plaintiff,                   Civil Case No. 21-CV-61344

                 v.

   GOVERNOR RONALD DESANTIS,
   et al.,

                   Defendants.
   __________________________________/


                            BRIEF AMICUS CURIAE OF
                 CHRISTIAN FAMILY COALITION (CFC) FLORIDA, INC.,
             IN SUPPORT OF DEFENDANT GOVERNOR RONALD DESANTIS
             AND OTHER STATE GOVERNMENTAL DEFENDANTS SEEKING
                   DISMISSAL OF THE COMPLAINT IN THIS ACTION


          Christian Family Coalition (CFC) Florida, Inc. (“Amicus” or “CFC”), hereby

   submits its Brief Amicus Curiae in support of defendant Governor Ronald DeSantis and

   other defendants seeking dismissal of the complaint in this action pursuant to

   Fed.R.Civ.P. 12(b)(6).

                                     INTEREST OF AMICUS

          Amicus, a non-profit Florida corporation, is a human rights and social justice

   advocacy organization representing over 500,000 fair-minded voters and citizens in the

   State of Florida. Amicus actively seeks to protect human rights and social justice in

   litigation, political forums, schooling and education, and society generally. Amicus and

   the 500,000+ citizens it represents have an acute interest in ensuring fairness, equality

   of opportunity, justice, and human rights in the forums and institutions of society and

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   government. In pursuit of these interests, Amicus and the 500,000+ citizens it

   represents have a special interest in ensuring the fairness in education and sporting

   activities that the legislation at issue in this action was designed to protect. Amicus

   lobbied heavily in the Florida State Legislature in support of the legislation which is

   under attack in this action.

          Amicus addresses two levels of concern in this Amicus Brief – (1) the legal

   deficiencies in the complaint and the (2) irreversible physical differences between

   biological males and biological females which severely prejudice – and potentially

   endanger – biological females if forced to compete in sports against physically superior

   males who have transgendered to identify as female.

                         LEGAL DEFICIENCIES IN THE COMPLAINT

          Legally, plaintiff has no bona fide claim of sexual discrimination. Neither Title IX

   nor the Equal Protection or Due Process Clauses of the U.S. Constitution prevents the

   State legislature from enacting the present legislation which protects biological females

   from unfair competition by biological males who identify as female. Indeed, the legal

   discrimination which exists is the diametric opposite of that which plaintiff asserts.

   Requiring biological females to compete directly against biological males in sporting

   events – the relief plaintiff seeks – far from removing discrimination against biological

   males who identify as female, would instead impose discrimination against biological

   females who, by reason of their sex, would be forced to compete directly against a

   physically superior sex in form of biological males who have transgendered to identify

   as female (physical superiority addressed at pp.6-9 infra).

          Simply stated, the complaint places the shoe on the wrong foot. It is not the

   plaintiff who will suffer sexual discrimination under the disputed legislation but rather
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   biological females who will suffer from it by reason of their sex if the statute is

   overturned. Such a ruling would force biological females to suffer competitive

   disadvantages by reason of their sex in competition with physically superior biological

   males who have transgendered to identify as female.

          Indeed, it would be ironic if Title IX would avail plaintiff. Title IX was enacted to

   protect biological women from sexual discrimination in sports, not to subject them to

   discrimination by reason of their sex in direct competition with biological males who are

   physically superior.

          In short, far from supporting plaintiff’s claim, the anti-discrimination provisions of

   Title IX and the Equal Protection and Due Process Clauses directly cut against the

   claim plaintiff asserts.

          Nor do the complaint’s conclusory allegations pass muster. Under Fed.R.Civ.P.

   12(b)(6), plaintiff must allege more than conclusory allegations of pertinent matters but,

   more stringently, must include in the complaint’s allegations sufficient “factual

   enhancement” to show a plausible basis for a claim. The need to allege a plausible

   case via specific non-conclusory allegations is a fundamental, bed-rock requirement of

   basic pleading. Ashcroft v. Iqbal, 556 U.S. 662, 678-80 (2009); Bell Atlantic Corp. v.

   Twombly, 550 U.S. 544, 555-57 (2007).

          Plaintiff fails to comply. In a pivotal allegation, plaintiff alleges in conclusory

   fashion that she in particular has “no competitive advantage” by reason of her biological

   sex (male) (complaint ¶ 30). However, plaintiff then broadens the allegations of the

   complaint to avail all “transgender girls” generally (id., ¶ 42) and on behalf of any “girl or

   woman who is transgender” (id., ¶ 44) and again multiple times for all “transgender girls”

   generally (id., ¶¶ 48 & 49) and for “other transgender girls” (id., ¶¶ 51 & 55), culminating
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   in plaintiff’s claims for relief seeking a Court judgment invalidating the statute generally

   (id., ¶¶ 56-80).

            In effect, plaintiff seeks to conflate plaintiff’s own situation with those of “other

   transgender girls” (id., ¶ 51) and with any “girl or woman who is transgender” (id., ¶ 44)

   in plaintiff’s conclusory allegation of “no competitive advantage” (id., ¶ 30). But plaintiff

   offers no “factual enhancement” of her conclusory allegation of “no competitive

   advantage” as to “transgender girls and women” generally for whom plaintiff effectively

   seeks a declaration of the statute’s invalidity. Indeed, any holding of the statute’s

   invalidity – the remedy plaintiff seeks – would necessarily avail “other transgender girls”

   without the necessary “factual enhancement” required by Iqbal and Twombly to show a

   plausible basis for plaintiff’s claim that “other transgender girls or women” in general

   would have “no competitive advantage” as plaintiff alleges in conclusory fashion (id.,

   ¶ 30).

            This is the danger and unfairness of any ruling sustaining plaintiff’s complaint.

   Plaintiff posits her own particular factual situation, but any ruling in plaintiff’s favor

   would, by plaintiff’s own admission, necessarily benefit any “girl or woman who is

   transgender” (id., ¶ 44) and all “other transgender girls” (id., ¶ 51) regardless of how this

   Court may try to narrow the precedential effect of a ruling in plaintiff’s favor. The

   beneficiaries of a ruling in favor of plaintiff will, unfairly, be any “girl or woman who is

   transgender” (id., ¶ 44) and all “other transgender girls” (id., ¶ 51) who will then use in

   their own favor the conclusory allegation of “no competitive advantage” (id., ¶ 30)

   without the necessary “factual enhancement” under Iqbal and Twombly needed to make

   the allegation plausible for the broad swath of “other transgender girls” and any “girl or



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   women who is transgender.” Plaintiff should not be permitted to circumvent the clear

   mandate of Iqbal and Twombly (“factual enhancement”) in such a circuitous fashion.

          Indeed, as shown below, the likely reason why plaintiff has failed to allege the

   “factual enhancement” which Iqbal and Twombly require – which alone is ground for

   dismissing the complaint – is because common sense and the available evidence refute

   any allegation that transgender athletes who are biologically male but who identify as

   female somehow have “no competitive advantage” over biologically female athletes.

   This is an inherently implausible allegation, apart from plaintiff’s failure to elaborate with

   the necessary “factual enhancement.” Amicus addresses this below (pp.6-9 infra).

          Nor may plaintiff claim the benefit of Bostock v. Clayton County, 140 S.Ct. 1731

   (2020). This is so for two reasons. First, Bostock held that gay and transgender

   persons were protected from sexual discrimination under Title VII of the 1964 Civil

   Rights Act. Bostock merely extended rights of equal treatment in employment to gay

   and transgender persons without depriving others of the same. By contrast, the relief

   which plaintiff seeks in the context of sports would deprive biological females of equal

   treatment. It would discriminate against biological females, by reason of their sex, in

   sporting competitions by forcing them to compete against physically superior biological

   males who identify as female (pp.6-9 supra). Bostock does not countenance such an

   inequitable and discriminatory result.

          Second, as mentioned above, the very purpose of Title IX runs counter to the

   relief plaintiff seeks (p.3 supra). It would be absurd to extend Bostock to force biological

   females to compete against physically superior biological males – and thus discriminate

   against biologically female athletes by reason of their sex – when the very purpose of

   Title IX was to protect biological females from exactly this discrimination.
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          One or more of these serious legal deficiencies in the complaint warrants its

   dismissal.

       THE INHERENT PHYSICAL DIFFERENCES BETWEEN BIOLOGICAL MALES
            AND BIOLOGICAL FEMALES REFUTE PLAINTIFF’S CLAIM AND
              SUSTAIN THE PROTECTIVE PURPOSES OF THE STATUTE

          Basic biology also refutes plaintiff’s claim. Persons born biologically as males

   have intrinsic and irreversible biological and physical advantages over persons born

   biologically as females in terms of skeletal mass, muscle mass, and lung capacity.

   These physical advantages give persons born biologically as males intrinsic, built-in and

   irreversible competitive advantages over natural-born females in sporting competitions

   of virtually every sort. It is inherently unfair and unjust to pit biological females against

   biological males whose physical superiority skews the playing field enormously and

   necessarily diminishes the award-winning opportunities for biological females. These

   built-in, irreversible physical advantages remain regardless of testosterone-reduction

   therapy or changes in post-partum psychological identity.

          Take lung capacity, for example. The inherent differences between biological

   males and biological females are enormous. Overall, biological males have 38.1%

   greater lung capacity than biological females, with some of the constituent measures

   of lung capacity showing that biological males have 54.8% more lung capacity than

   biological females. See https://www.easycalculation.com/medical/lung-volume-

   capacities.php. The percentage differences shown in the cited website are as follows:




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                      Percentage by Which Lung Capacity of Average Male
                           Exceeds Lung Capacity of Average Female

              (see cited online chart p.6 supra for different lung capacities in liters)

                                                              Percentage by Which Lung
                                                              Capacity of Average Male Exceeds
   Type of Capacity       Meaning of Type of Capacity         Lung Capacity of Average Female

   Vital Capacity         Maximum Amount of Air               Men’s (4.8 liters) Exceeds
   Men = 4.8 liters       That is Inhaled or Exhaled          Women’s (3.1 liters) by 54.8%
   Women = 3.1 liters

   Inspiratory Capacity Amount of Air That is Inhaled         Men’s (3.5 liters) Exceeds
   Men = 3.5 liters     After Normal Expiration               Women’s (2.4 liters) by 45.8%
   Women = 2.4 liters

   Functional Residual    Volume of Air That is Left in       Men’s (2.3 liters) Exceeds
   Capacity               The Lungs After Normal              Women’s (1.8 liters) by 27.8%
   Men = 2.3 liters       Expiration
   Women = 1.8 liters

   Total Lung Capacity Maximum Amount of Air                  Men’s (5.8 liters) Exceeds
   Men = 5.8 liters    That is Filled by the Lungs            Women’s (4.2 liters) by 38.1%
   Women = 4.2 liters

   Note – A liter is a measure of volume that is approximately 5% larger than a quart. Thus
   1 liter = 1.05 quart (approx.).


         With these enormous differences in average lung capacity – between biological

   males and biological females – it is patently absurd to claim that biological women have

   a fair chance in physical competition against biological males who identify as female.

   These differences are permanent and irreversible. There is no evidence that counsel or

   Amicus could find indicating that testosterone-reduction therapy or any other therapy

   alters this enormous advantage. These differences persist for the unfair benefit of

   biological males who identify as female in sports competitions against biological

   females. The Legislature had more than ample evidence to support the statute under

   review.

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         The same obtains for differences in skeletal and muscle mass. After puberty the

   average male has 50% greater skeletal and muscle mass than the average female –

   see, e.g., https://healthyliving.azcentral.com/much-muscle-mass-male-female-1709.html

   – a difference this Court may judicially notice merely by observing the differences

   among pedestrians on the sidewalk or among attorneys appearing in this Court. This is

   not a shocking or surprising observation. Neither counsel nor Amicus is aware of any

   evidence that testosterone-suppression therapy or any other therapy reduces the

   difference in skeletal mass or comes anywhere close to eliminating the difference in

   muscle mass.

         Reports abound of transgender females, formerly males, who identify as female

   and who displace female athletes after previously competing without distinction in male

   sporting events. Transgender athletes Cece (formerly Craig) Telfer and June (formerly

   Jonathan) Eastwood transitioned from male to female sporting events in NCAA

   competition and materially bettered their results. This necessarily displaced biological

   females whom the transgender competitors bettered. Andrea Jones and Clare Hepler,

   Males Don’t Belong in Women’s Sports – Even If They Don’t Always Win,

   www.heritage.org/gender/commentary/males-dont-belong-womens-sports-even-if-they-

   dont-always-win (Nov. 27, 2019). The internet is replete with hundreds of similar stories.

         Other commentators put the matter well:

         “This is not a distinction of value, but a distinction of difference. Men are not
         smarter, more valued, or more worthy of praise than women – their biological
         makeup simply renders them stronger, faster, and bigger than women.”

   Wilbon and Williams, Transgender Athletes Will Spell The End of Women’s Sports,

   https://www.dailysignal.com/2019/04/15/transgender-athletes-will-spell-the-end-of-

   womens-sports/ (April 15, 2019).
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          In addition to physical superiority generally in virtually all sports, natural-born

   males have especial built-in physical superiority and advantages over natural-born

   females in sports which involve physical contact, whether intentional or unavoidable.

   These include wrestling, boxing, basketball, soccer, football, lacrosse, ice hockey, field

   hockey, and numerous other sports which intrinsically or inescapably involve physical

   contact between members of opposing teams. These contact sports present inherent

   dangers of serious physical injury to biological females solely by reason of their sex

   when in competition with physically stronger, larger, more muscular biological males

   who identify as female. Neither testosterone-reduction therapy nor post-partum

   psychological identity reduces the potential for serious physical injuries.

          The dangers are real and likely to increase if biological males who identify as

   female are permitted to compete against biological women in sports involving any kind

   of physical contact. The infamous tale of Fallon Fox, a transgender mixed-martial-arts

   (MMA) competitor, involves Fox’s braking the skull of a female competitor. Chang,

   Transgender Fighter Who Broke Woman’s Skull in MMA Ring Has Now Been Called the

   “Bravest Athlete in History,” https://www.westernjournal.com/transgender-fighter-broke-

   womans-skull-mma-ring-now-called-bravest-athlete-history/ (Feb. 16, 2021).

                                          CONCLUSION

          These inherent physical differences, as well as well as the legal issues discussed

   above, warrant this Court’s dismissal of the complaint. The competitive disadvantages

   and potential life-shattering physical injuries to which biological females are vulnerable,

   solely by reason of their sex in competition with physically larger, faster and stronger

   biological males, clearly entitles the State Legislature to have enacted the protective

   statute at issue in this case. Defendants’ motion to dismiss should be granted.
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    Dated: August 23, 2021              Respectfully submitted,

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